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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

IRENE MARIE BREAUX, ET AL.                        CIVIL ACTION

VERSUS                                            NO: 15-0837

GOODYEAR TIRE & RUBBER CO.,                       SECTION: "A" (4)
ET AL.


                           ORDER AND REASONS

     Before the Court is a Motion to Remand (Rec. Doc. 5) filed

by plaintiffs Irene Marie Breaux, Candace Mary Breaux, Brandon

Breaux, Ericka Breaux, and Jamie Breaux ("Plaintiffs").

Defendant Goodyear Tire & Rubber Co. ("Goodyear") opposes the

motion.   The motion, scheduled for submission on June 17, 2015,

is before the Court on the briefs without oral argument.          For the

reasons that follow, the motion is DENIED.

I.   BACKGROUND

     This lawsuit arises out of an incident that took place on

February 5, 2014.    Decedent, Elwood Breaux, Jr., was assisting a

fellow Plaquemines Parish Government employee inflate a tire

manufactured by Defendant.      While in the process of inflating the

tire, the tire allegedly developed a "zipper failure" and

exploded.   Decedent sustained injuries and died on March 5, 2014.

     Plaintiffs claim that the tire failure caused not only

injuries to decedent but also his eventual death.         They allege



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actions against Goodyear including products liability claims,

failure to warn, and general negligence.       In addition to

Goodyear, Plaintiffs have also named two fictitious individual

defendants whom Plaintiffs claim were involved in the purchase of

the tire at a store in Louisiana and failed to pass on warnings

about the possible defects in the tires.

     In the present motion, Plaintiffs argue that the case must

be remanded because they have viable claims for failure to warn

against the two allegedly non-diverse individuals.         They further

argue that the Court should consider these defendants'

citizenship for purposes of determining diversity jurisdiction.

     Goodyear argues that the case should not be remanded as the

statutory language is clear that the citizenship of fictitiously

named defendants should be disregarded in a jurisdictional

analysis.   Further, Goodyear contends that Plaintiffs have no

viable claim against the individual defendants.

     II.    DISCUSSION

     Generally, a defendant may remove a civil action filed in

state court if the federal court to which it is removed could

have exercised original jurisdiction over the action.         See 28

U.S.C. § 1441(a).   The removing defendant bears the burden of

demonstrating that the federal court has jurisdiction.          Allen v.

R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995).

     Federal courts have original jurisdiction over actions where


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the amount in controversy, exclusive of costs and interest,

exceeds $75,000.00 and complete diversity of citizenship exists

between all plaintiffs and defendants.       See 28 U.S.C. § 1332(a);

Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373 (1978).

While a federal court must remand a civil action to state court

if it lacks subject-matter jurisdiction at any time before final

judgment is entered, 28 U.S.C. § 1447(c), for the purpose of

determining whether the parties are completely diverse, a court

must examine the parties' citizenship at the time the lawsuit is

commenced.   Harris v. Black Clawson Co., 961 F.2d 547, 549 (5th

Cir. 1992) (“Whether diversity jurisdiction exists is determined

by examining the citizenship of the parties at the time suit was

filed.”) (citation omitted); Seafoam, Inc. v. Barrier Sys., Inc.,

830 F.2d 62, 67 (5th Cir. 1987) (“It is well established law that

the jurisdiction of a federal court sitting in diversity is

determined as of the time of filing of the complaint.”).

     When a non-diverse party is joined as a defendant, a federal

court lacks subject-matter jurisdiction and the case may not be

removed from state court.     However, a defendant may remove the

case if it can show that the non-diverse party was improperly

joined.   Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th

Cir. 2004) (en banc).

     28 U.S.C. § 1441 provides, in pertinent part, "In

determining whether a civil action is removable on the basis of


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the jurisdiction under section 1332(a) of this title, the

citizenship of defendants sued under fictitious names shall be

disregarded."   Plaintiffs argue that the Court should apply an

exception to this language referenced in some older cases from

the Eastern District of Louisiana.       Those cases found that the

citizenship of a fictitiously-named defendant could be considered

where the allegations provided a "definite clue" about the

defendant's identity.    See, e.g., Tompkins v. Lowe's Home Center,

Inc., 847 F. Supp. 462, 463-64 (E.D. La. 1994); Culbertson v.

Shelter Mut. Insur. Corp., no. 97-1969, 1997 WL 610869, at *2-3

(E.D. La. Sept. 30, 1997).

     The language of the statute is clear and explicit.         The

Court must disregard the fictitiously-named defendants'

citizenship.    In doing so, the Court acknowledges the more recent

cases in this circuit that have indicated that the language of §

1441 does not allow for the "definite clue" jurisprudential

exception argued by Plaintiffs.        Dixon v. Grehyhound Lines, Inc.,

no. 13-0179, 2013 WL 4766797, at *3 (M.D. La. Sept. 4, 2013);

Alonzo v. Shoney's, Inc., no. 00-3109, 2001 WL 15641, at *3 (E.D.

La. Jan. 5, 2001); see Vaillancourt v. PNC Bank, Nat'l Assn., 771

F.3d 843, 848 n.38 (5th Cir. 2014)(quoting the language of § 1441

in noting that there would be diversity jurisdiction even if

claims had been asserted against the fictitiously-named non-

diverse defendants in that case).


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     This ruling does not preclude Plaintiffs from attempting to

remand the case at a later date, should they determine the

identity and non-diverse citizenship of these individuals and

properly amend their Complaint to reflect such factual

allegations.

     Accordingly, and for the foregoing reasons;

     IT IS ORDERED that the Motion to Remand (Rec. Doc. 5) filed

by Plaintiffs is DENIED.



     August 3, 2015


                                       JAY C. ZAINEY
                               UNITED STATES DISTRICT JUDGE




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